           Case 1:17-cv-12219-RWZ Document 21 Filed 08/27/18 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

SUNDAR GONGAJU,                                       )
                                                      )
                Plaintiff,                            )
v.                                                    )
                                                      )      C. A. No. 17-cv-12219-RWZ
SELECT PORTFOLIO SERVICING, INC.                      )
                                                      )
                Defendant.                            )

                     STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff Sundar Gongaju, pursuant to Fed. R. Civ. P. 41 (a)(1)(A)(ii), hereby dismisses

the above-captioned action with prejudice and without costs, waiving all rights of appeal.

Respectfully submitted,                            Respectfully submitted,

SUNDAR GONGAJU,                                    SELECT PORTFOLIO SERVICING,
                                                   INC.,
By his attorneys,
                                                   By its attorneys,

/s/ Alexa Rosenbloom                               /s/ Peter F. Carr, II
Alexa Rosenbloom (BBO #679018)                     Peter F. Carr, II (BBO #600069)
Matthew Brooks (BBO # 693322)                      ECKERT, SEAMANS, CHERIN &
Greater Boston Legal Services                      MELLOTT, LLC
197 Friend Street                                  Two International Place, 16th Floor
Boston, MA 02114                                   Boston, Massachusetts 02110
Telephone: 617.603.1542                            Telephone: 617.342.6800
ARosenbloom@gbls.org                               Facsimile: 617.342.6899
MBrooks@gbls.org                                   pcarr@eckertseamans.com



Dated: August 27, 2018




{K0748288.1}
           Case 1:17-cv-12219-RWZ Document 21 Filed 08/27/18 Page 2 of 2




                                 CERTIFICATE OF SERVICE


       I, Peter F. Carr, II, Esquire, certify that on this date this document filed through the ECF
system will be sent electronically to the registered participants as identified on the Notice of
Electronic Filing (NEF) and paper copies will be sent to the non-registered participants.


Date: August 27, 2018                         /s/ Peter F. Carr, II
                                              Peter F. Carr, II




{K0748288.1}                                     2
